        Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 1 of 36




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISON


LEANNE ROBIE, individually and on                     Case No.
behalf of all others similar situated,
                                                      CLASS ACTION
        Plaintiff,
                                                      DEMAND FOR JURY TRIAL
        v.

AMERICAN HEALTH IMAGING, INC.,
      Defendant.
______________________________________


                                CLASS ACTION COMPLAINT

        Plaintiff Leanne Robie, (“Plaintiff”), on behalf herself, and all others similarly situated,

alleges the following Class Action Complaint (the “Action”) against Defendant American Health

Imaging, Inc., (“AHI” or “Defendant”) upon personal knowledge, and upon information and belief,

including the investigation of counsel as follows:

   I.        SUMMARY

        1.      Leanne Robie brings this Action on behalf of herself and all other similarly situated

victims as a result of a recent cyberattack and data breach involving the personally identifiable

information of patients of Defendant American Health Imaging, Inc., a Georgia company, offering

diagnostic imaging services in at least four States (hereinafter, the “Data Breach”).

        2.      In or about December 2021, an unknown and unauthorized criminal actor gained

access to AHI’s network and exfiltrated “name, date of birth, social security number, address,

health insurance information, medical record number, patient account number, date(s) of service,

and other data provided to AHI (“PII” or “Private Information”).

                                                 1
        Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 2 of 36




        3.       In Notice of Data Security Incident posted on Defendants website1, AHI

acknowledges:

        On December 24, 2021, we identified a security incident that impacted systems that
        contained our patient information. We immediately initiated our incident response
        process, notified law enforcement, and began an investigation with the assistance
        of a forensic firm. Within days, we were able to contain the incident and resume
        serving patients. The investigation subsequently determined that between
        December 17 and December 24, 2021, an unauthorized party gained access to our
        network.

        Some patients’ information may have been accessed, including patient names and
        one or more of the following: address, date of birth, health insurance information,
        medical record number, patient account number, physician name, date(s) of service,
        diagnosis, and/or treatment information related to radiology services. For a limited
        number of patients, Social Security numbers may have been included.

        4.       Additionally, AHI sent letters to its patients, including Plaintiff, informing them

that they too had been victims of the Data Breach.

        5.       While there are serious issues surrounding AHI’s Data Breach, the deficiencies in

the Data Breach notification letter exacerbate the circumstances for victims of the Data Breach.

AHI’s systems were compromised in December of 2021, but it did not notify any victims until

nine months later (in September of 2022). This information is vital to victims of a data breach, let

alone a data breach of this magnitude, due to the sensitivity and wide array of information

compromised in this specific Data Breach.

        6.       As a result of the Data Breach, Plaintiff and Class Members suffered injury and

ascertainable losses in the form of the present and imminent threat of fraud and identity theft, loss

of the benefit of their bargain, out-of-pocket expenses, loss of value of their time reasonably

incurred to remedy or mitigate the effects of the attack, and the loss of, and diminution in, value

of their personal information.


1
  https://americanhealthimaging.com/wp-content/uploads/2022/09/AHI-Substitute-Notice_9.2.22.pdf (last accessed
July 20, 2023).

                                                      2
         Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 3 of 36




         7.    In addition, Plaintiff’s and Class Members’ sensitive PII—which was entrusted to

Defendant—was compromised and unlawfully accessed due to the Data Breach. This information,

while compromised and taken by unauthorized third parties, remains also in the possession of

Defendant, and without additional safeguards and independent review and oversight, remains

vulnerable to future cyberattacks and theft.

         8.    The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect victims’ PII.

         9.    Plaintiff brings this class action lawsuit on behalf of those similarly situated to

address Defendant’s inadequate safeguarding of Class Members’ PII that Defendant collected and

maintained and for failing to provide timely and adequate notice to Plaintiff and other Class

Members that their information had been subject to the unauthorized access by an unknown third

party.

         10.   Defendant maintained the PII in a reckless manner. In particular, the PII was

maintained on Defendant’s computer network in a condition vulnerable to cyberattacks.

         11.   The mechanism of the cyberattack and potential for improper disclosure of

Plaintiff’s and Class Members’ PII was a known risk to Defendant and entities like it, and

Defendant was thus on notice that failing to take steps necessary to secure the PII against those

risks left that property in a dangerous condition and vulnerable to theft. Defendant was further on

notice of the severe consequences that would result to Plaintiff and Class Members from its failure

to safeguard their PII.

         12.   Defendant disregarded the rights of Plaintiff and Class Members (defined below)

by, inter alia, intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized intrusions;



                                                3
        Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 4 of 36




failing to disclose that it did not have adequately robust computer systems and security practices

to safeguard patient PII; failing to take standard and reasonably available steps to prevent the Data

Breach; failing to properly train its staff and employees on proper security measures; and failing

to provide Plaintiff and Class Members prompt notice of the Data Breach.

        13.     In addition, Defendant and its employees failed to properly monitor the computer

network and systems that housed the PII. Had Defendant properly monitored its computer network

and systems, it would have discovered the intrusion sooner, as opposed to letting cyberthieves

roam freely in Defendant’s IT network for months or even years.

        14.     Plaintiff's and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the PII that Defendant collected and maintained is now in the hands of

data thieves. This present risk will continue for their respective lifetimes.

        15.     Armed with the PII accessed in the Data Breach, data thieves can commit a variety

of crimes including, e.g., opening new financial accounts in Class Members’ names, taking out

loans in Class Members’ names, using Class Members’ names to obtain medical services, using

Class Members’ information to obtain government benefits, filing fraudulent tax returns using

Class Members’ information, obtaining driver’s licenses in Class Members’ names but with

another person’s photograph, and giving false information to police during an arrest.

        16.     As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a present and imminent risk of fraud and identity theft. Plaintiff and Class Members must now and

in the future closely monitor their financial accounts to guard against identity theft.

        17.     Plaintiff and Class Members will incur out of pocket costs for, e.g., purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.



                                                  4
           Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 5 of 36




           18.     Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

individuals whose PII was accessed during the Data Breach.

           19.     Plaintiff seeks remedies including, but not limited to, actual damages,

compensatory damages, nominal damages, and reimbursement of out-of-pocket costs.

           20.     Plaintiff also seeks injunctive and equitable relief to prevent future injury on behalf

of herself and the putative Class.

    II.          JURISDICTION AND VENUE

           21.     This Court has subject matter and diversity jurisdiction over this action under 28

U.S.C. § 1332(d) because this is a class action wherein the amount of controversy exceeds the sum

or value of $5 million, exclusive of interests and costs, there are more than 100 members of the

proposed class, and at least one Class Member is a citizen of a state different from Defendant to

establish minimal diversity, namely, Plaintiff is a Nevada resident whereas Defendant is

headquartered and incorporated in Georgia.

           22.     This Court has personal jurisdiction over Defendant because Defendant is

headquartered and does substantial business from and within in this District.

           23.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant

and/or its parents or affiliates are headquartered in this District and a substantial part of the events

or omissions giving rise to Plaintiff’s claims occurred in this District.

    III.         PARTIES

           24.     Leanne Robie is an individual who currently resides in and is a citizen of Nevada.

Plaintiff received a letter from Defendant in September 2022 informing her that her PII was

compromised in the Data Breach. Plaintiff was a patient of AHI.




                                                     5
            Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 6 of 36




            25.     Defendant AHI is a company formed under the laws of the State of Georgia with

its principal place of business located in Atlanta, Georgia. Defendant offers diagnostic imaging

services in at least four States.

      IV.         FACTUAL ALLEGATIONS

            A. Defendant’s Business

            26.     According to Defendant AHI’s website:

            At American Health Imaging, we’ve invested in the most up-to-date imaging
            equipment to enhance the patient experience and provide the highest quality
            diagnostic images. These same technologies also allow for greater patient comfort
            and faster exams, which means your referring physician will get the answers they
            need… quickly. When you’re dealing with an accident, injury or chronic disease,
            it’s reassuring to know the efficient workflow at American Health Imaging will
            have you in / out and results to your doctor in a couple of days, not weeks!2

            27.     Defendant collects personally identifiable information from their patients as a as

part of the provision of its services. This personally identifiable information includes PII which

was compromised in the Data Breach alleged herein.

            28.     Prior to commencing employment with and receiving services from Defendant,

Plaintiff and Class Members were required to and did in fact turn over their PII.

            29.     Upon information and belief, Defendant promises to maintain the confidentiality of

Plaintiff’s and Class Members’ Private Information to ensure compliance with federal and state

laws and regulations, and not to use or disclose Plaintiff’s and Class Members’ Private Information

for non-essential purposes.

            30.     As a condition of receiving Defendant’s services, Defendant requires that Plaintiff

and Class Members entrust it with highly sensitive personal information.




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    https://americanhealthimaging.com/about/ (last accessed July 20, 2023).


                                                          6
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 7 of 36




       31.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Defendant assumed legal and equitable duties and knew or should have known that

it was responsible for protecting Plaintiff’s and Class Members’ Private Information from

unauthorized disclosure.

       32.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information. Plaintiff and Class Members would not have entrusted

Defendant with their Private Information had they known that Defendant would fail to implement

industry standard protections for that sensitive information.

       33.     Plaintiff and the Class Members relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.

       B. The Attack and Data Breach

       34.     In September 2022, Defendant informed Class Members via the Notice that:

       On December 24, 2021, we identified a security incident that impacted systems that
       contained our patient information. We immediately initiated our incident response
       process, notified law enforcement, and began an investigation with the assistance
       of a forensic firm. Within days, we were able to contain the incident and resume
       serving patients. The investigation subsequently determined that between
       December 17 and December 24, 2021, an unauthorized party gained access to our
       network.

       35.     The personally identifiable information that was compromised includes name, date

of birth, social security number, address, health insurance information, medical record number,

patient account number, date(s) of service, and other data provided to AHI.

       36.     The Data Breach Notice recommends Plaintiff and Class Members “always review

the statements you receive from your health insurer. If you see charges for services, you did not

receive, please call the insurer immediately.”



                                                 7
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 8 of 36




       37.        Defendants provided no substantive information to help victims like Plaintiff and

the Class Members on how to protect themselves, rather provided a phone number for a call center

that victims could contact with “any questions”.

       38.        Due to Defendant’s inadequate security measures, Plaintiff and Class Members

now face a present, immediate, and ongoing risk of fraud and identity theft and must deal with that

threat forever.

       39.        Upon information and belief, the PII was not encrypted prior to the data breach.

       40.        Upon information and belief, the cyberattack was targeted at Defendant as a

company that collects and maintains valuable personal and financial data from its many customers,

including Plaintiff and Class Members.

       41.        Upon information and belief, the cyberattack was expressly designed to gain access

to private and confidential data, including (among other things) the PII of Plaintiff and Class

Members.

       42.        Defendant had obligations to keep Plaintiff’s and Class Members’ PII confidential

and to protect it from unauthorized access and disclosure.

       43.        Plaintiff and Class Members provided their PII to Defendant with the reasonable

expectation and on the mutual understanding that Defendant would comply with its obligations to

keep such information confidential and secure from unauthorized access.

       C. The Data Breach Was Foreseeable and the Defendant Was Aware of Its Risk

       44.        It is well known that PII, including Social Security numbers and financial account

information, in particular, is an invaluable commodity and a frequent target of hackers.




                                                  8
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 9 of 36




       45.     In 2021, there were a record 1,862 data breaches last year, surpassing both the 2020

total of 1,108 and the previous record of 1,506 set in 2017.3

       46.     Individuals place a high value not only on their PII, but also on the privacy of that

data. For the individual, identity theft causes “significant negative financial impact on victims” as

well as severe distress and other strong emotions and physical reactions.

       47.     Individuals are particularly concerned with protecting the privacy of their Social

Security numbers, which are the “secret sauce” that is “as good as your DNA to hackers.” There

are long-term consequences to data breach victims whose social security numbers are taken and

used by hackers. Even if they know their Social Security numbers have been accessed, Plaintiff

and Class Members cannot obtain new numbers unless they become a victim of Social Security

number misuse. Even then, the Social Security Administration has warned that “a new number

probably won’t solve all [] problems … and won’t guarantee … a fresh start.”

       48.     In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), and, in light of the recent data breaches Wells Fargo has suffered, Defendant

knew or should have known that its electronic records would be targeted by cybercriminals.

       49.     Indeed, cyberattacks have become so notorious that the FBI and U.S. Secret Service

have issued a warning to potential targets so they are aware of and take appropriate measures to

prepare for and are able to thwart such an attack.




3
  Bree Fowler, Data breaches break record in 2021, CNET (Jan. 24, 2022), https://www.cnet.com
/tech/services-and-software/record-number-of-data-breaches-reported-in-2021-new-report-says/.
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       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 10 of 36




       50.     Despite the prevalence of public announcements of data breach and data security

compromises, and despite their own acknowledgment of its duties to keep PII private and secure,

Defendant failed to take appropriate steps to protect the PII of Plaintiff and the proposed Class

from being compromised.

       D. Defendant Had a Duty to Plaintiff and Class Members to Secure Private
          Information

       51.     At all relevant times, Defendant had a duty to Plaintiff and Class Members to

properly secure their PII, encrypt and maintain such information using industry standard methods,

train its employees, utilize available technology to defend its systems from invasion, act reasonably

to prevent foreseeable harm to Plaintiff and Class Members, and to promptly notify Plaintiff and

Class Members when Defendant became aware that their PII may have been compromised.

       52.     Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant, on the one hand, and Plaintiff and the Class Members,

on the other hand. The special relationship arose because Plaintiff and the Members of the Class

relied on Defendant to secure their PII when they entrusted Defendant with the information

required to become a patient.

       53.     Defendant had the resources necessary to prevent the Data Breach but neglected to

adequately invest in security measures, despite its obligation to protect such information.

Accordingly, Defendant breached its common law, statutory, and other duties owed to Plaintiff

and Class Members.

       54.     Security standards commonly accepted among businesses that store PII using the

internet include, without limitation:

       a.      Maintaining a secure firewall configuration;

       b.      Maintaining appropriate design, systems, and controls to limit user access to

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         Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 11 of 36




         certain information as necessary;

         c.     Monitoring for suspicious or irregular traffic to servers;

         d.     Monitoring for suspicious credentials used to access servers;

         e.     Monitoring for suspicious or irregular activity by known users;

         f.     Monitoring for suspicious or unknown users;

         g.     Monitoring for suspicious or irregular server requests;

         h.     Monitoring for server requests for PII;

         i.     Monitoring for server requests from VPNs; and

         j.     Monitoring for server requests from Tor exit nodes.

         55.    The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”4

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”5

         56.    The ramifications of Defendant’s failure to keep its and patients’ PII secure are long

lasting and severe. Once PII is stolen, particularly Social Security numbers, fraudulent use of that

information and damage to victims is likely to continue for years.

         E. The Value of Personally Identifiable Information




4
    17 C.F.R. § 248.201 (2013).
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    Id.
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       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 12 of 36




       57.     The PII of consumers remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.6 According to the Dark Web Price Index for

2021, payment card details for an account balance up to $1,000 have an average market value of

$150, credit card details with an account balance up to $5,000 have an average market value of

$240, stolen online banking logins with a minimum of $100 on the account have an average market

value of $40, and stolen online banking logins with a minimum of $2,000 on the account have an

average market value of $120.7

       58.     As a growing number of federal courts have begun to recognize the loss of value of

PII as a viable damages theory, the sale of PII from data breaches, as in the Data Breach alleged

herein, is particularly harmful to data breach victims, especially when it takes place on the dark

web.

       59.     The dark net is an unindexed layer of the internet that requires special software or

authentication to access.8 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is




6
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed May 18, 2023).
7
   Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at:
https://www.privacyaffairs.com/dark-web-price-index-2021/ (last accessed May 18, 2023).
8
   What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/ (last accessed May 18, 2023).

                                               12
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 13 of 36




ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion.9 This prevents dark web

marketplaces from being easily identifiable to authorities or those not in the know.

        60.     A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal and medical information like the PII at

issue here.10 The digital character of PII stolen in data breaches lends itself to dark web transactions

because it is immediately transmissible over the internet and the buyer and seller can retain their

anonymity. The sale of a firearm or drugs on the other hand requires a physical delivery address.

Nefarious actors can readily purchase usernames and passwords for online streaming services,

stolen financial information and account login credentials, and Social Security numbers, dates of

birth and medical information.11 As Microsoft warns “[t]he anonymity of the dark web lends itself

well to those who would seek to do financial harm to others.” 12

        61.     Plaintiff and Class Members’ PII is a valuable commodity, a market exists for

Plaintiff and Class Members’ PII (which is why the Data Breach was perpetrated in the first place),

and Plaintiff and Class Members’ PII is being likely being sold by hackers on the dark web (as that

is the modus operandi of data thieves). As a result, Plaintiff and Class Members have lost the value

of their PII, which is sufficient to plausibly allege injury arising from a data breach.

        62.     An active and robust legitimate marketplace for PII also exists. In 2019, the data

brokering industry was worth roughly $200 billion.13 In fact, the data marketplace is so




9
  Id.
10
    What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web
11
   Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/
12
    What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web
13
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
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      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 14 of 36




sophisticated that consumers can actually sell their non-public information directly to a data broker

who in turn aggregates the information and provides it to marketers or app developers.1415

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50.00 a year.16

       63.     The PII stolen in this specific Data Breach was particularly harmful. Social Security

numbers, for example, are among the worst kind of personal information to have stolen because

they may be put to a variety of fraudulent uses and are difficult for an individual to change.

       64.     The Social Security Administration stresses that the loss of an individual’s Social

Security number, as is the case here, can lead to identity theft and extensive financial fraud:

       A dishonest person who has your Social Security number can use it to get other
       personal information about you. Identity thieves can use your number and your
       good credit to apply for more credit in your name. Then, they use the credit cards
       and don’t pay the bills, it damages your credit. You may not find out that someone
       is using your number until you’re turned down for credit, or you begin to get calls
       from unknown creditors demanding payment for items you never bought. Someone
       illegally using your Social Security number and assuming your identity can cause
       a lot of problems.17

       65.     Furthermore, trying to change or cancel a stolen Social Security number is no minor

task. An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       66.     Even then, a new Social Security number may not be effective, as “[t]he credit



14
   https://datacoup.com/
15
   https://digi.me/what-is-digime/
16
     Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last accessed May 18, 2023).
17
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed May 8, 2023).
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      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 15 of 36




bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.”18

       67.     This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card

information, personally identifiable information and Social Security numbers are worth more than

10x on the black market.”19

       68.     PII can be used to distinguish, identify, or trace an individual’s identity, such as

their name and Social Security number. This can be accomplished alone, or in combination with

other personal or identifying information that is connected or linked to an individual, such as their

birthdate, birthplace, and mother’s maiden name.20

       69.     Given the nature of Defendant’s Data Breach, as well as the delay in notification to

Class Members, it is foreseeable that the compromised PII has been or will be used by hackers and

cybercriminals in a variety of devastating ways. Indeed, the cybercriminals who possess Plaintiff’s

and Class Members’ PII can easily obtain Plaintiff’s and Class Members’ tax returns or open

fraudulent credit card accounts in Class Members’ names.

       70.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data




18
        Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back,
NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
hackers-has-millions-worrying-about-identity-theft (last accessed May 18, 2023).
19
        Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit
Card          Numbers,         Computer           World          (Feb.       6,       2015),
http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-for-10x-price-
of-stolen-credit-card-numbers.html (last accessed May 18, 2023).
20
   See OFFICE OF MGMT. & BUDGET, OMB MEMORANDUM M-07-16 n.1.
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       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 16 of 36




breach, because credit card victims can cancel or close credit and debit card accounts.21 The

information compromised in this Data Breach is impossible to “close” and difficult, if not

impossible, to change (such as Social Security numbers and dates of birth).

        71.      To date, Defendant has offered a narrowed subset of victims identity monitoring

services for an unidentified period of time. The offered services are inadequate to protect Plaintiff

and Class Members from the threats they face for years to come, particularly considering the PII

at issue here.

        72.      The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for its current

and former patients.

        F. Plaintiff’s Experience

        73.      Plaintiff was required to provide and did provide their PII to Defendant as a

condition of receiving Defendant’s services.

        74.      To date, Defendant has done next to nothing to adequately protect Plaintiff and

Class Members, or to compensate them for their injuries sustained in this Data Breach particularly

given the fact that Plaintiff’s PII has already been “impacted” in the Data Breach and likely been

made available on the dark web to anyone wishing to purchase it.

        75.      Nor has Defendant compensated Plaintiff and Class Members for the time they will

spend monitoring their accounts, placing credit freezes and fraud alerts, changing online passwords

and taking other actions.




21
   See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report
Finds,         Forbes,          Mar         25,         2020,           available         at:
https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-security-number-costs-4-
on-the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last accessed May 18, 2023).
                                                16
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 17 of 36




        76.     Plaintiff and Class Members have been further damaged by the compromise of their

PII in the Data Breach which was “impacted” and is in the hands of cybercriminals who illegally

accessed Defendant’s network for the specific purpose of targeting the PII.

        77.     Plaintiff typically takes measures to protect their PII and is very careful about

sharing their PII. Plaintiff has never knowingly transmitted unencrypted PII over the internet or

other unsecured source.

        78.     Plaintiff stores any documents containing their PII in a safe and secure location,

and they diligently choose unique usernames and passwords for their online accounts.

        79.     As a result of the Data Breach, Plaintiff has suffered a loss of time and has spent

and continues to spend a considerable amount of time on issues related to this Data Breach. In

response to the Data Breach, Plaintiff has spent significant time monitoring their accounts and

credit score, changing their online account passwords and verifying the legitimacy of the Notice

and researching the Data Breach. This is time that was lost and unproductive and took away from

other activities and duties.

        80.     Plaintiff also suffered actual injury in the form of damages to and diminution in the

value of their PII—a form of intangible property that they entrusted to Defendant for the purpose

of obtaining employment with Defendant, which was compromised in and as a result of the Data

Breach.

        81.     Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result

of the Data Breach and has anxiety and increased concerns for the loss of their privacy.

        82.     Plaintiff suffered emotional distress and increased stress and anxiety because of the

Data Breach because of the actions they have been forced to undertake, the loss of control over

their most intimate information, and the fact that they must remain vigilant for the remainder of



                                                 17
         Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 18 of 36




their life.

         83.     Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from their PII, especially their Social

Security Number and date of birth, being placed in the hands of criminals.

         84.     Defendant obtained and continues to maintain Plaintiff’s PII and has a continuing

legal duty and obligation to protect that PII from unauthorized access and disclosure. Defendant

required the PII from Plaintiff as a condition of employment by Defendant. Plaintiff, however,

would not have entrusted their PII to Defendant had they known that it would fail to maintain

adequate data security. Plaintiff’s PII was compromised and disclosed because of the Data Breach.

         85.     As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. As a

result of the Data Breach, Plaintiff is at a present risk and will continue to be at increased risk of

identity theft and fraud for years to come.

    V.         CLASS ACTION ALLEGATIONS

         86.     Plaintiff brings this suit on behalf of herself and a class of similarly situated

individuals under Federal Rule of Civil Procedure 23, which is preliminarily defined as:

         All former and current patients Defendant has identified as being among those
         individuals impacted by the Data Breach, including all who were sent a notice of
         the Data Breach (the “Class”).

         87.     The members of the Class are referred to as the “Class Members.” Specifically

excluded from the Class definitions are: (1) Defendant, any entity in which Defendant has a

controlling interest, and its legal representatives, officers, directors, employees, assigns and

successors; (2) the Judge to whom this case is assigned and any member of the Judge’s staff or

immediate family; and (3) Class Counsel. Plaintiff reserves the right to amend the Class definition



                                                 18
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 19 of 36




as necessary.

       88.      Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Though the exact number and identities of Class Members are unknown at this time,

it is likely that hundreds, if not thousands, of individuals had their PII compromised in this Data

Breach, given the Defendant operates in over 100 markets in the United States. The identities of

Class Members are ascertainable through Defendant’s records, Class Members’ records,

publication notice, self-identification, and other means.

       89.      Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                   i. Whether Defendant unlawfully used, maintained, lost, or disclosed

                       Plaintiff’s and Class Members’ PII;

                   ii. Whether Defendant failed to implement and maintain reasonable security

                       procedures and practices appropriate to the nature and scope of the

                       information compromised in the Data Breach;

                  iii. Whether Defendant’s data security systems prior to and during the Data

                       Breach complied with applicable data security laws and regulations;

                  iv. Whether Defendant’s data security systems prior to and during the Data

                       Breach were consistent with industry standards;

                   v. Whether Defendant owed a duty to Class Members to safeguard their PII;

                  vi. Whether Defendant breached its duty to Class Members to safeguard their

                       PII;

                  vii. Whether computer hackers obtained Class Members’ PII in the Data



                                                19
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 20 of 36




                        Breach;

                 viii. Whether Defendant knew or should have known that its data security

                        systems and monitoring processes were deficient;

                   ix. Whether Plaintiff and Class Members suffered legally cognizable damages

                        as a result of Defendant’s misconduct;

                    x. Whether Defendant’s conduct was negligent; and;

                   xi. Whether Plaintiff and Class Members are entitled to damages, civil

                        penalties, punitive damages, and/or injunctive relief.

        90.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII, like that of every other Class member, was compromised in the Data Breach.

        91.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Members of the Class. Plaintiff’s Counsel is competent and experienced

in litigating Class actions, including data privacy litigation of this kind.

        92.     Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was stored on the

same computer systems and unlawfully accessed in the same way. The common issues arising

from Defendant’s conduct affecting Class Members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        93.     Superiority. A Class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high



                                                  20
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 21 of 36




and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a Class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class member.

       94.      Defendant has acted on grounds that apply generally to the Class as a whole, so

that Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

       95.      Likewise, particular issues under Federal Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the resolution of which

would advance the disposition of this matter and the parties’ interests therein. Such particular

issues include, but are not limited to:

                    xii. Whether Defendant owed a legal duty to Plaintiff and the Class to exercise

                         due care in collecting, storing, and safeguarding their PII;

                 xiii. Whether Defendant’s security measures to protect their data systems were

                         reasonable in light of best practices recommended by data security experts;

                 xiv. Whether Defendant’s failure to institute adequate protective security

                         measures amounted to negligence; and

                    xv. Whether Defendant failed to take commercially reasonable steps to

                         safeguard PII.

       96.      Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the Data Breach. Class Members have



                                                  21
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 22 of 36




already been preliminarily identified and sent notice of the Data Breach by Defendant.

   VI.         CAUSES OF ACTION

                                            COUNT I
                                         NEGLIGENCE
                          (On behalf of Plaintiff and all Class Members)

         97.     Plaintiff re-alleges and incorporates by reference herein paragraphs 1–96 below.

         98.     Defendant knowingly collected, came into possession of, and maintained Plaintiff’s

and Class Members’ PII for pecuniary gain, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting such information from being compromised, lost, stolen,

misused, and/or disclosed to unauthorized parties.

         99.     Defendant had a duty under common law to have procedures in place to detect and

prevent the loss or unauthorized dissemination of Plaintiff’s and Class Members’ PII.

         100.    Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed. The

harm that Plaintiff and Class Members experienced was within the zone of foreseeable harm

known to Defendant.

         101.    Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Class. That special relationship

arose because Plaintiff and the Class entrusted Defendant with their confidential PII, a mandatory

step in obtaining employment or receiving services from Defendant. While this special relationship

exists independent from any contract, it is recognized by Defendant’s privacy practices, as well as

applicable laws and regulations. Specifically, Defendant actively solicited and gathered PII as part

of its business and was solely responsible for and in the position to ensure that their systems were




                                                  22
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 23 of 36




sufficient to protect against the foreseeable risk of harm to Plaintiff and Class Members from a

resulting data breach.

       102.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff and the Class, to maintain adequate data security.

       103.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly considering Defendant’s inadequate security

practices and the frequency of data breaches in general.

       104.    Defendant also had a common law duty to prevent foreseeable harm to others.

Plaintiff and the Class were the foreseeable and probable victims of Defendant’s inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of adequately

safeguarding that PII, and the necessity of encrypting PII stored on Defendant’s systems. It was

foreseeable that Plaintiff and Class Members would be harmed by the failure to protect their

personal information because hackers are known to routinely attempt to steal such information and

use it for nefarious purposes.

       105.    Defendant’s conduct created a foreseeable risk of harm to Plaintiff and the Class.

Defendant’s wrongful conduct included, but was not limited to, their failure to take the steps and

opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct also included

their decision not to comply with industry standards for the safekeeping of Plaintiff’s and the

Class’s PII, including basic encryption techniques available to Defendant.

       106.    Plaintiff and the Class had and have no ability to protect their PII that was in, and

remains in, Defendant’s possession.




                                                23
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 24 of 36




       107.    Defendant was able to effectively protect against the harm suffered by Plaintiffs

and the Class as a result of the Data Breach.

       108.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and safeguard their computer property—and Class Members’ PII held within it—

to prevent disclosure of the information, and to safeguard the information from theft. Defendant’s

duty included a responsibility to implement processes by which they could detect a breach of its

security systems in a reasonably expeditious period and to give prompt notice to those affected in

the case of a data breach.

       109.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class members by failing to exercise reasonable care in protecting and safeguarding

Plaintiff’s and Class Members’ PII within Defendant’s possession.

       110.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class members by failing to have appropriate procedures in place to detect and

prevent dissemination of Plaintiff’s and Class Members’ PII.

       111.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

timely disclose to Plaintiff and Class Members that the PII within Defendant’s possession might

have been compromised and precisely the type of information compromised.

       112.    Defendant’s breach of duties owed to Plaintiff and Class Members caused

Plaintiff’s and Class Members’ PII to be compromised.

       113.    Pursuant to Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45

(“FTCA"), Defendant had a separate and independent duty to provide fair and adequate computer

systems and data security practices to safeguard Plaintiff’s and Class members’ PII.



                                                24
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 25 of 36




       114.    The FTCA is intended, in part, to protect individuals whose PII is maintained by

another and who are unable to safeguard their information as they cannot exercise control or

direction over the data security practices.

       115.    Plaintiff and the members of the Class are within the class of persons that the FTCA

was intended to protect as their PII was collected and maintained by Defendant and they were

unable to exercise control over Defendant’s data security practices.

       116.    The harm that occurred because of the Data Breach is the type of harm the FTCA

was intended to guard against.

       117.    The FTC has pursued enforcement actions against businesses, which, because of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiffs and the members of the Class.

       118.    Defendant breached its duties to the Plaintiff and the members of the Class under

the Federal Trade Commission Act by failing to provide fair, reasonable, or adequate computer

systems and data security practices to safeguard Plaintiff’s and Class members’ Private

Information.

       119.    Had Plaintiff and the members of the Class known that Defendant would not

adequately protect their Private Information, Plaintiff and the members of the Class would not

have entrusted Defendant with their Private Information.

       120.    Defendant’s failure to comply with applicable laws and regulations, including

Section 5 of the FTC Act, constitutes negligence per se.

       121.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and the members of the Class, they would not have been injured.




                                               25
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 26 of 36




        122.    The injury and harm suffered by Plaintiff and the members of the Class was the

reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or should have

known that it was failing to meet their duties, and that Defendant’s breach would cause Plaintiff

and the members of the Class to experience the foreseeable harms associated with the exposure of

their Private Information.

        123.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the loss of the opportunity to control how their PII is used; (iii) the compromise,

publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their PII for

Plaintiff’s and Class Members’ respective lifetimes; (v) lost opportunity costs associated with

effort expended and the loss of productivity addressing and attempting to mitigate the present and

future consequences of the Data Breach, including but not limited to efforts spent researching how

to prevent, detect, contest, and recover from tax fraud and other identity theft; (vi) costs associated

with placing freezes on credit reports; (vii) the continued risk to their PII, which remains in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the current and former patients’

PII in their continued possession; and (viii) present and future costs in the form of time, effort, and

money that will be expended to prevent, detect, contest, and repair the impact of the compromise

of PII as a result of the Data Breach for the remainder of the lives of Plaintiff and the Class

Members.

        124.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class have suffered and will continue to suffer other forms of injury and/or harm,



                                                  26
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 27 of 36




including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

        125.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Class have suffered and will suffer the continued risks of

exposure of their PII, which remains in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII in its continued possession.

        126.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class are now at an increased risk of identity theft or fraud.

        127.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiffs are entitled to and demand actual, consequential, and nominal damages and injunctive

relief to be determined at trial.

                                            COUNT II
                             BREACH OF IMPLIED CONTRACT
                          (On behalf of Plaintiff and all Class Members)

        128.    Plaintiff re-alleges and incorporates by reference herein paragraphs 1–96 below.

        129.    Plaintiff and the Class entrusted their PII to Defendant as a condition of obtaining

employment and receiving services from Defendant. In so doing, Plaintiff and the Class entered

into implied contracts with Defendant by which Defendant agreed to safeguard and protect such

information, to keep such information secure and confidential, and to timely and accurately notify

Plaintiff and the Class if their data had been breached and compromised or stolen. These implied

contracts may be composed, in part, of the written policies posted on Defendant’s website,

including its Privacy Policy and Terms of Use.




                                                 27
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 28 of 36




       130.    At the time Defendant acquired the PII of Plaintiff and the Class, there was a

meeting of the minds and a mutual understanding that Defendant would safeguard the PII and not

take unjustified risks when storing the PII.

       131.    Implicit in the agreements between Plaintiff and Class Members and Defendant to

provide PII, was the latter’s obligation to: (a) use such PII for business purposes only, (b) take

reasonable steps to safeguard that PII, (c) prevent unauthorized disclosures of the PII, (d) provide

Plaintiff and Class Members with prompt and sufficient notice of any and all unauthorized access

and/or theft of their PII, (e) reasonably safeguard and protect the PII of Plaintiff and Class

Members from unauthorized disclosure or uses, and (f) retain the PII only under conditions that

kept such information secure and confidential.

       132.    Plaintiff and the Class would not have entrusted their PII to Defendant had they

known that Defendant would make the PII internet-accessible, not encrypt sensitive data elements

such as Social Security numbers, and not delete the PII that Defendant no longer had a reasonable

need to maintain it.

       133.    Plaintiff and the Class fully performed their obligations under the implied contracts

with Defendant.

       134.    Defendant breached the implied contracts they made with Plaintiff and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiff and the Class once the relationship ended, and by failing to provide timely and accurate

notice to them that personal information was compromised because of the Data Breach.

       135.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class have suffered (and will continue to suffer) ongoing, imminent, and

impending threat of identity theft crimes, fraud, and abuse, resulting in monetary loss and



                                                 28
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 29 of 36




economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of the

compromised data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work

time; and other economic and non-economic harm.

       136.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class are entitled to recover actual, consequential, and nominal damages

to be determined at trial.

                                       COUNT III
               INVASION OF PRIVACY – INTRUSION UPON SECLUSION
                      (On behalf of Plaintiff and all Class Members)

       137.    Plaintiff re-alleges and incorporates by reference herein paragraphs 1–96 below.

       138.    Plaintiff and Class Members have a legally protected privacy interest in their PII,

which is and was collected, stored, and maintained by Defendant, and they are entitled to the

reasonable and adequate protection of their PII against foreseeable unauthorized access, as

occurred with the Data Breach.

       139.    Plaintiff and Class Members reasonably expected that Defendant would protect and

secure their PII from unauthorized parties and that their PII would not be accessed, exfiltrated, and

disclosed to any unauthorized parties or for any improper purpose.

       140.    Defendant intentionally intruded into Plaintiff’s and Class Members’ seclusion by

disclosing without permission their PII to a third party. Defendant’s acts and omissions giving rise

to the Data Breach were intentional in that the decisions to implement lax security and failure to

timely notice Plaintiff and the Class were undertaking willfully and intentionally.



                                                29
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 30 of 36




       141.    By failing to keep Plaintiff’s and Class Members’ PII secure, and disclosing PII to

unauthorized parties for unauthorized use, Defendants unlawfully invaded Plaintiff’s and Class

Members’ privacy right to seclusion by, inter alia:

           a. intruding into their private affairs in a manner that would be highly offensive to a

               reasonable person;

           b. invading their privacy by improperly using their PII obtained for a specific purpose

               for another purpose, or disclosing it to unauthorized persons;

           c. failing to adequately secure their PII from disclosure to unauthorized persons; and

           d. enabling the disclosure of their PII without consent.

       142.    This invasion of privacy resulted from Defendant’s intentional failure to properly

secure and maintain Plaintiff’s and Class Members’ PII, leading to the foreseeable unauthorized

access, exfiltration, and disclosure of this unguarded and private data.

       143.    Plaintiff’s and Class Members’ PII is the type of sensitive, personal information

that one normally expects will be protected from exposure by the very entity charged with

safeguarding it. Further, the public has no legitimate concern in Plaintiff’s and Class Members’

PII, and such information is otherwise protected from exposure to the public by various statutes,

regulations, and other laws.

       144.    The disclosure of Plaintiff’s and Class Members’ PII to unauthorized parties is

substantial and unreasonable enough to be legally cognizable and is highly offensive to a

reasonable person.

       145.    Defendant’s willful and reckless conduct that permitted unauthorized access,

exfiltration and disclosure of Plaintiff’s and Class Members’ sensitive PII is such that it would

cause serious mental injury, shame, or humiliation to people of ordinary sensibilities.



                                                30
        Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 31 of 36




        146.   The unauthorized access, exfiltration, and disclosure of Plaintiff’s and Class

Members’ PII was without their consent, and in violation of various statutes, regulations, and other

laws.

        147.   As a direct and proximate result of Defendant’s intrusion upon seclusion, Plaintiff

and Class Members suffered injury and sustained actual losses and damages as alleged herein.

Plaintiff and Class Members alternatively seek an award of nominal damages.

                                          COUNT IV
                                  UNJUST ENRICHMENT
                         (On behalf of Plaintiff and all Class Members)

        148.   Plaintiff re-alleges and incorporates by reference herein paragraphs 1–96 below.

        149.   This Count is brought in the alternative to Count II, Breach of Implied Contract.

        150.   Plaintiff and Class Members conferred a monetary benefit on Defendant, by

providing Defendant with their valuable PII. In so conferring this benefit, Plaintiff and Class

Members understood that part of the benefit Defendant derived from the PII would be applied to

data security efforts to safeguard the PII.

        151.   Defendant appreciated that Plaintiff and Class Members were conferring a benefit

upon it and accepted that monetary benefit.

        152.   Acceptance of the benefit under the facts and circumstances described herein make

it inequitable for Defendant to retain that benefit without payment of the value thereof.

Specifically, Defendant enriched itself by saving the costs they reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ PII. Instead of providing a

reasonable level of security that would have prevented the Data Breach, Defendant instead

calculated to avoid their data security obligations at the expense of Plaintiff and Class Members




                                                31
       Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 32 of 36




by utilizing cheaper, ineffective security measures. Plaintiff and Class Members, on the other hand,

suffered as a direct and proximate result of Defendant’s failure to provide the requisite security.

        153.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

        154.    Defendant acquired the monetary benefit and PII through inequitable means in that

they failed to disclose the inadequate security practices previously alleged.

        155.    If Plaintiff and Class Members knew that Defendant had not secured their PII, they

would not have agreed to provide their PII to Defendant.

        156.    Plaintiff and Class Members have no adequate remedy at law.

        157.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their PII is used; (iii) the compromise, publication, and/or theft

of their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft, and/or unauthorized use of their PII; (v) lost opportunity costs associated with

effort expended and the loss of productivity addressing and attempting to mitigate the actual and

future consequences of the Data Breach, including but not limited to efforts spent researching how

to prevent, detect, contest, and recover from identity theft; (vi) the continued risk to their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect PII in their continued

possession and (vii) future costs in terms of time, effort, and money that will be expended to




                                                  32
        Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 33 of 36




prevent, detect, contest, and repair the impact of the PII compromised as a result of the Data Breach

for the remainder of the lives of Plaintiff and Class Members.

        158.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        159.   Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them.

                                           COUNT V
                               DECLARATORY JUDGMENT
                         (On behalf of Plaintiff and all Class Members)

        160.   Plaintiff re-alleges and incorporates by reference herein paragraphs 1–96 below.

        161.   Defendant owes duties of care to Plaintiffs and Class Members that require

Defendant to adequately secure their PII.

        162.   Defendant still possess Plaintiffs’ and Class Members’ PII.

        163.   Plaintiff and Class Members are at risk of harm due to the exposure of their PII and

Defendant’s failure to address the security failings that lead to such exposure.

        164.   Plaintiff, therefore, seeks a declaration that (1) Defendant’s existing security

measures do not comply with its duties of care to provide reasonable security procedure and

practices appropriate to the nature of the information to protect customers’ PII, and (2) to comply

with its duties of care, Defendant must implement and maintain reasonable security measures,

including, but not limited to:

           a. Engaging third-party security auditors/penetration testers as well as internal

               security personnel to conduct testing, including simulated attacks, penetration tests,

               and audits on Defendant’s systems on a periodic basis, and ordering Defendant to



                                                33
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 34 of 36




              promptly correct any problems or issues detected by such third-party security

              auditors;

          b. Engaging third-party security auditors and internal personnel to run automated

              security monitoring;

          c. Auditing, testing, and training its security personnel regarding any new or modified

              procedures;

          d. Segmenting its user applications by, among other things, creating firewalls and

              access controls so that if one area is compromised, hackers cannot gain access to

              other portions of Defendant’s systems;

          e. Conducting regular database scanning and security checks;

          f. Routinely and continually conducting internal training and education to inform

              internal security personnel how to identify and contain a breach when it occurs and

              what to do in response to a breach;

          g. Purchasing credit monitoring services for Plaintiffs and Class Members for a period

              of ten years; and

          h. Meaningfully educating Plaintiffs and Class Members about the threats they face

              as a result of the loss of their PII and PHI to third parties, as well as the steps they

              must take to protect themselves.



   VII.   PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, individually and on behalf of the Class defined herein, prays for

judgment as against Defendant as follows:




                                                34
Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 35 of 36




a.) For an Order certifying this action as a Class action and appointing Plaintiff and

   their counsel to represent the Class;

b.) For equitable relief enjoining Defendant from engaging in the wrongful conduct

   complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s

   and Class Members’ PII, and from refusing to issue prompt, complete and

   accurate disclosures to Plaintiff and Class Members;

c.) For equitable relief compelling Defendant to utilize appropriate methods and

   policies with respect to data collection, storage, and safety, and to disclose with

   specificity the type of PII compromised during the Breach;

d.) For equitable relief requiring restitution and disgorgement of the revenues

   wrongfully retained as a result of Defendant’s wrongful conduct;

e.) Ordering Defendant to pay for lifetime credit monitoring services for Plaintiff

   and the Class;

f.) For an award of actual damages, compensatory damages, statutory damages and

   statutory penalties, in an amount to be determined, as allowable by law;

g.) For an award of punitive damages, as allowable by law;

h.) For an award of attorneys’ fees and costs, and any other expense, including

   expert witness fees;

i.) Pre- and post-judgment interest on any amounts awarded and,

j.) All such other and further relief as this court may deem just and proper.

                            JURY TRIAL DEMAND

Plaintiff hereby demands a trial by jury.

                 DOCUMENT PRESERVATION DEMAND



                                           35
      Case 1:23-mi-99999-UNA Document 2345 Filed 07/24/23 Page 36 of 36




       Plaintiff demands that Defendant take affirmative steps to preserve all records, lists,

electronic databases, or other itemization of telephone numbers associated with the

communications or transmittal of the calls as alleged herein.



DATED:         July 24, 2023

                                             Respectfully submitted,


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                                               36
